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                             Nebraska Court of Appeals Advance Sheets
                                  27 Nebraska Appellate Reports
                                        BAUER v. GENESIS HEALTHCARE GROUP
                                                 Cite as 27 Neb. App. 904



                                  Michael Bauer, appellant, v. Genesis
                                     Healthcare Group, appellee.
                                                      ___ N.W.2d ___

                                         Filed December 17, 2019.   No. A-18-1212.

                 1. Workers’ Compensation: Notice: Appeal and Error. Where the under-
                    lying facts are undisputed, or if disputed, the factual finding of the trial
                    court was not clearly erroneous, the question of whether Neb. Rev. Stat.
                    § 48-133 (Reissue 2010) bars the claim is a question of law upon which
                    the appellate court must make a determination independent of that of the
                    trial court.
                 2. Workers’ Compensation: Notice. Neb. Rev. Stat. § 48-133 (Reissue
                    2010) contemplates a situation where an employer has notice or knowl-
                    edge sufficient to lead a reasonable person to conclude that an employ-
                    ee’s injury is potentially compensable and that, therefore, the employer
                    should investigate the matter further.
                 3. ____: ____. The purposes of the notice requirement of Neb. Rev. Stat.
                    § 48-133 (Reissue 2010) are to enable the employer to provide immedi-
                    ate medical diagnosis and treatment with a view to minimizing the seri-
                    ousness of the injury and to facilitate the earliest possible investigation
                    of the facts surrounding the injury.
                 4. Words and Phrases. “Practicable” generally means capable of being
                    done, effected, or put into practice with the available means, i.e.,
                    feasible.
                 5. Workers’ Compensation: Notice: Words and Phrases. The meaning
                    of “as soon as practicable” under Neb. Rev. Stat. § 48-133 (Reissue
                    2010) depends upon the particular facts and circumstances of the case.

                 Appeal from the Workers’ Compensation Court: J. Michael
               Fitzgerald, Judge. Affirmed.
                 Christopher R. Miller and Mark P. Grell, of Miller Grell
               Law Group, P.C., L.L.O., for appellant.
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        Nebraska Court of Appeals Advance Sheets
             27 Nebraska Appellate Reports
             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
  Jason A. Kidd, of Engles, Ketcham, Olson &amp; Keith, P.C., for
appellee.
  Moore, Chief Judge, and Pirtle and Welch, Judges.
  Welch, Judge.
                        INTRODUCTION
   In this workers’ compensation case, Michael Bauer filed a
claim for benefits against Genesis Healthcare Group (Genesis),
concerning a shoulder injury he experienced while working
as a physical therapy assistant. A trial judge of the Workers’
Compensation Court determined that Bauer failed to give the
required notice of injury to Genesis “as soon as practicable”
after the occurrence and dismissed Bauer’s petition. Bauer
appeals the dismissal of his petition, arguing that the trial
court erred in finding that he failed to give Genesis notice of
his injury as soon as was practicable. Having determined, as
a matter of law, that the trial court correctly determined that
Bauer failed to give Genesis notice “as soon as practicable” as
required by Neb. Rev. Stat. § 48-133 (Reissue 2010), we affirm
the trial court’s dismissal of Bauer’s petition.
                   STATEMENT OF FACTS
   On September 15, 2017, Bauer was employed by Genesis as
a director of rehabilitation and as a physical therapy assistant.
On that date, while assisting a patient in a wheelchair, Bauer
felt a “sharp pain” and a “sudden pop” in his right shoulder
together with a “burning kind of numbness” that went down
his right arm. Bauer testified that he told his coworker that
he “‘tore a muscle or something’” and was advised to file a
report. Bauer did not immediately file a report. He testified
that he was concerned about his job status and did not want
to “rock the boat” by reporting the injury. Instead, he testified
that he believed he could handle it on his own. Later that day,
Bauer went to the gym to try to work out his arm. The fol-
lowing weekend, Bauer canceled a planned trip to a Nebraska
football game, placed ice on the impacted area, and utilized a
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        Nebraska Court of Appeals Advance Sheets
             27 Nebraska Appellate Reports
             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
set of pulleys at his home to work on his range of motion. Due
to his ability to set his own work schedule, Bauer placed him-
self on light duty for the week following the incident.
   On September 25, 2017, Bauer was informed by his
employer that he was being placed on administrative leave
and instructed that his position might be eliminated but that he
would be considered for other director of rehabilitation posi-
tions in the state if one should become available. Bauer testi-
fied that, at that time, his arm was still sore, but he continued
to believe he had a minor sprain or strain. He continued to
try and rehabilitate his injury by pursuing aquatic therapy on
his own.
   Bauer testified that on October 1, 2017, while working at
his family farm and attaching a blade to a tractor, he felt pain
and a “pop” in the same shoulder. He testified that he was
being “hardheaded” about seeing a doctor, but at the urging of
his wife, he first sought treatment for his shoulder on October
6 at a clinic in McCook, Nebraska. At the clinic, he was exam-
ined by a physician assistant, who stated in her medical note:
“The onset of the shoulder pain has been sudden following
an incident not at work and has been occurring in a persistent
pattern for 5 days. The course has been without change. The
shoulder pain is severe. The shoulder pain is characterized as a
sharp stabbing.” The physician assistant suggested that Bauer
have a CT scan of the shoulder and that Bauer contact an
orthopedic surgeon.
   Bauer made an appointment to see Dr. Jeffrey Tiedeman,
an orthopedic surgeon in Omaha, Nebraska. In his office notes
governing the visit on October 20, 2017, Dr. Tiedeman indi-
cated Bauer “was injured when he was putting a blade on the
back of his tractor on 10-1-17. He felt a pop in his shoulder
and a burning sensation that radiated from the shoulder all
[the] way down to his hand.” The note of the visit also indi-
cated, “[Bauer] wasn’t experiencing any significant problems
with his shoulder before this episode.” At trial, Bauer stated
that he did not initially tell Dr. Tiedeman about any work
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        Nebraska Court of Appeals Advance Sheets
             27 Nebraska Appellate Reports
             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
injury. Bauer stated that he purposefully misled his doctors to
avoid his employer’s discovering his work injury.
   Following the visit, Dr. Tiedeman opined that Bauer was
injured when he was putting a blade on the back of his trac-
tor. His impression was that Bauer had suffered a “[r]otator
cuff tear right shoulder with possible associated biceps tendi-
nopathy.” He then recommended a CT scan with an arthrogram
component in order to obtain “better definition” governing the
status of the rotator cuff.
   Bauer testified that on Friday, October 20, 2017, following
his appointment with Dr. Tiedeman, he called Genesis to report
the injury but was unable to reach the appropriate person. He
then reported the injury on Monday, October 23, and filed a
written report the following day.
   The CT scan was performed on October 30, 2017. The
radiologist’s impression was that there was no evidence of a
rotator cuff tear or retraction, there was a “[m]edial sublux-
ation of the biceps tendon with superficial partial tear and
suspected overlying subscapularis tendon tear,” and there was
an “anterior capsular laxity with evidence of multidirectional
instability possibly with small intra-articular loose body and
partial tear/laxity of the middle glenohumeral ligament.” After
Dr. Tiedeman reviewed the CT scan on November 3, he opined
that there “did not appear to be any full-thickness tear of the
rotator cuff,” but he noted “some subluxation of the biceps
tendon and likely a partial-thickness tear of the upper border of
the subscapularis.”
   After Bauer returned to Dr. Tiedeman on November 20,
2017, for a followup evaluation, Dr. Tiedeman diagnosed a
“[b]iceps tendon subluxation with rotator cuff tendinopathy
right shoulder.” Dr. Tiedeman stated that they could manage
the symptoms conservatively or pursue a surgical approach.
At this visit, Bauer advised Dr. Tiedeman, for the first time,
that Bauer believed he may have actually injured his shoul-
der initially in mid-September when he was “lifting a patient
at work.”
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        Nebraska Court of Appeals Advance Sheets
             27 Nebraska Appellate Reports
             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
   On April 4, 2018, Dr. Tiedeman opined that “more likely
than not,” the work accident caused or contributed to Bauer’s
right shoulder injury.
   Following the trial, the court found that Bauer injured his
right shoulder in an accident arising out of and in the course
of his employment with Genesis on September 15, 2017.
However, the court found that Bauer did not provide notice of
the injury to Genesis “as soon as practicable” as required by
§ 48-133 and dismissed the case. Bauer appeals.
                  ASSIGNMENT OF ERROR
   Bauer contends that the Workers’ Compensation Court erred
in finding that he failed to give Genesis notice of his injury as
soon as was practicable.
                   STANDARD OF REVIEW
   Pursuant to Neb. Rev. Stat. § 48-185 (Cum. Supp. 2018), an
appellate court may modify, reverse, or set aside a Workers’
Compensation Court decision only when (1) the compensation
court acted without or in excess of its powers; (2) the judg-
ment, order, or award was procured by fraud; (3) there is not
sufficient competent evidence in the record to warrant the mak-
ing of the order, judgment, or award; or (4) the findings of fact
by the compensation court do not support the order or award.
Greenwood v. J.J. Hooligan’s, 297 Neb. 435, 899 N.W.2d
905 (2017).
   [1] Where the underlying facts are undisputed, or if disputed,
the factual finding of the trial court was not clearly erroneous,
the question of whether § 48-133 bars the claim is a question
of law upon which the appellate court must make a determina-
tion independent of that of the trial court. Unger v. Olsen’s Ag.
Lab., 19 Neb. App. 459, 809 N.W.2d 813 (2012).
                        ANALYSIS
  Section 48-133 provides, in relevant part:
       No proceedings for compensation for an injury under
    the Nebraska Workers’ Compensation Act shall be
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        Nebraska Court of Appeals Advance Sheets
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             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
      maintained unless a notice of the injury shall have been
      given to the employer as soon as practicable after the
      happening thereof . . . . Want of such written notice shall
      not be a bar to proceedings under the Nebraska Workers’
      Compensation Act, if it be shown that the employer had
      notice or knowledge of the injury.
   As such, the trial court correctly dismissed Bauer’s claim
if it correctly found that Bauer did not report his injury suf-
fered on September 15, 2017, to his employer “as soon as
practicable.” This court had occasion to examine the mean-
ing of the phrase “as soon as practicable” in Williamson v.
Werner Enters., 12 Neb. App. 642, 682 N.W.2d 723 (2004). In
Williamson, we noted:
         The requirement that notice be given “as soon as
      practicable” has been a part of the workers’ compensa-
      tion statutes since their inception in 1913. See Rev. Stat.
      § 3674 (1913). In discussing the requirements of § 3674,
      the Nebraska Supreme Court stated in Good v. City of
      Omaha, 102 Neb. 654, 655-56, 168 N.W. 639 (1918):
      “[T]he requirement of the statute is only what a person
      acting in good faith would be likely to do without a
      statute. One receiving an injury, for which he expects
      to hold another liable, would feel called upon, as soon
      as practicable after receiving the injury, to give the
      other notice of it, and would feel called upon, as soon
      as he knew the nature and extent of his injury, to make
      his demand for compensation. In courts of justice, the
      good faith of a claim is always more or less discred-
      ited by the fact that no immediate demand was made
      or that prosecution was long delayed. The employer is
      entitled to an early demand, so that he may know the
      nature and amount of the claim; may settle it, if pos-
      sible, or, if not, may investigate the facts and preserve
      his evidence.”
12 Neb. App. at 646, 682 N.W.2d at 727.
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        Nebraska Court of Appeals Advance Sheets
             27 Nebraska Appellate Reports
              BAUER v. GENESIS HEALTHCARE GROUP
                       Cite as 27 Neb. App. 904
   [2,3] We further stated in Williamson:
         The Nebraska Supreme Court stated in Scott v. Pepsi
      Cola Co., 249 Neb. 60, 65, 541 N.W.2d 49, 53 (1995),
      that “[§] 48-133 [(Reissue 1993)] contemplates a situ-
      ation where an employer has notice or knowledge suf-
      ficient to lead a reasonable person to conclude that an
      employee’s injury is potentially compensable and that,
      therefore, the employer should investigate the matter fur-
      ther.” The Scott court also stated that a lack of prejudice
      is not an exception to the requirement of notice under
      § 48-133. The purposes of the notice requirement are
      “[f]irst, to enable the employer to provide immediate
      medical diagnosis and treatment with a view to minimiz-
      ing the seriousness of the injury; and second, to facilitate
      the earliest possible investigation of the facts surrounding
      the injury.” 7 Arthur Larson &amp; Lex K. Larson, Larson’s
      Workers’ Compensation Law § 126.01 (2003).
12 Neb. App. at 648, 682 N.W.2d at 728.
   In Williamson, we reviewed authority from other jurisdic-
tions analyzing the phrase “as soon as practicable” and cited
extensively to a Kentucky Court of Appeals’ case, where
that court concluded that an employee’s notice provided 54
days after the employee’s injury was not provided “as soon
as practicable”:
      “[I]t is our view that that part of the statute requiring
      notice of an injury to be given as soon as practicable
      is as mandatory in its nature as it is in requiring notice
      at all, and if there is delay in giving notice, the burden
      is upon the injured person to show that it was not prac-
      ticable to give notice sooner. While the rule of liberal
      construction will be applied to the workmen’s compensa-
      tion statutes, yet, liberal construction does not mean total
      disregard for the statute, or repeal of it under the guise
      of construction. And furthermore, it must not be forgot-
      ten that the very nature of appellant’s injury was such
      that [the injury] needed immediate attention. Hernia is a
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        Nebraska Court of Appeals Advance Sheets
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              BAUER v. GENESIS HEALTHCARE GROUP
                       Cite as 27 Neb. App. 904
      progressive injury and will increase with time. Whether
      or not appellant’s hernia was an old one or a fresh one
      sustained at the time he claims was indeed of much
      importance to appellee, since, if it was of the former
      class, appellee would not have been liable. And, if appel-
      lant had received immediate treatment, his disability, in
      all reasonable probability, might have been lessened if
      not entirely cured. Appellee was entitled to the benefit of
      an early opportunity to ascertain whether appellant sus-
      tained the hernia at the time claimed by him or whether
      it existed previous[ly] thereto, and also an opportunity
      to have him treated in an effort to cure, or, at the least,
      minimize the extent of his disability.”
12 Neb. App. at 649, 682 N.W.2d at 729, quoting Buckles
v. Kroger Grocery &amp; Baking Co., 280 Ky. 644, 134 S.W.2d
221 (1939).
   Here, there is no dispute of fact in the record as it relates to
the timing of the accident, injuries, and reporting. Bauer sus-
tained the first injury to his shoulder on September 15, 2017,
while assisting a patient in a wheelchair. Bauer admittedly
did not report the injury to Genesis and intentionally did not
report the work-related accident until October 23, which was
after he injured the same shoulder in a non-work-related farm
accident, after he had been placed on administrative leave,
and after, he argues, he first realized his injury was more
serious than he originally thought. Accordingly, we must now
independently determine, as a matter of law, whether under
these facts, Bauer reported the September 15 injury “as soon
as practicable.”
   [4] We are mindful of our various pronouncements in
Williamson v. Werner Enters., 12 Neb. App. 642, 652, 682
N.W.2d 723, 731 (2004), including the dictionary definition
of the word “‘[p]racticable’” as generally meaning “capable
of being done, effected, or put into practice with the avail-
able means, i.e., feasible. Webster’s Encyclopedic Unabridged
Dictionary of the English Language 1127 (1989).” We are
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             27 Nebraska Appellate Reports
              BAUER v. GENESIS HEALTHCARE GROUP
                       Cite as 27 Neb. App. 904
also mindful of our ultimate holding in Williamson, where
we said:
         Viewed in the light most favorable to Werner, the facts
      show that Williamson experienced an unusual event. He
      promptly perceived substantial pain that he connected
      with the event. Within days, he sought chiropractic treat-
      ment. The chiropractic record shows that Williamson
      attributed the pain to the event. Even if we assume that
      a liberal construction requires allowance of some time
      between that perception and the first instance of report-
      ing, the period from December to May exceeds the outer
      limit of any reasonable delay. Williamson presented no
      evidence showing that it was not “practicable” to give
      notice to Werner soon after he sought chiropractic treat-
      ment for severe pain that he attributed to the incident. We
      conclude that it was practicable to report the injury within
      a reasonable time after Williamson sought chiropractic
      treatment for the perceived pain which he related to the
      load-shifting incident and that Williamson failed to do
      so. The trial court correctly determined that Williamson
      failed to give notice as soon as practicable.
12 Neb. App. at 653, 682 N.W.2d at 731-32.
   We likewise reach the same conclusion here. Although we
are somewhat troubled by the shorter length of time between
the September 15, 2017, accident and the October 23 report,
we note that Bauer, an experienced physical therapy assistant,
perceived an immediate injury to his shoulder which he sus-
tained while assisting a patient in a wheelchair on September
15. Although Bauer argues that he did not perceive the injury
to be serious, he attributed significant pain and numbness
from it, canceled weekend plans to treat it, attempted to per-
sonally rehabilitate it, and changed his own work schedule to
accommodate it. By his own admission, Bauer intentionally
chose to not report the injury not because it was not practica-
ble, but because he did not want to “rock the boat.” In fact, he
decided to report it only after being placed on administrative
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              BAUER v. GENESIS HEALTHCARE GROUP
                       Cite as 27 Neb. App. 904
leave and only after further injury to his shoulder on October
1 following the period of time when he could have reported
the first injury and chose not to. In finding that Bauer’s report
was not “as soon as practicable,” we again refer to our quote
from Professor Larson in Williamson:
      The purposes of the notice requirement are “[f]irst, to
      enable the employer to provide immediate medical diag-
      nosis and treatment with a view to minimizing the seri-
      ousness of the injury; and second, to facilitate the earliest
      possible investigation of the facts surrounding the injury.”
      7 Arthur Larson &amp; Lex K. Larson, Larson’s Workers’
      Compensation Law § 126.01 (2003).
12 Neb. App. at 648, 682 N.W.2d at 728. Here, under these
facts, Genesis was potentially compromised by Bauer’s deci-
sion not to report his injury. First, had Bauer reported his
injury and sought treatment, a medical professional could
have examined the nature and extent of the injury and per-
haps cautioned Bauer against the type of use which resulted
in the October 1, 2017, injury. Second, Genesis would have
been in a better position to investigate the nature and extent of
the injury on September 15 and better able to defend against
Bauer’s claim first reported after the October 1 farm injury.
Genesis was compromised by not having an opportunity to
review the injury prior to October 1. Accordingly, it is not the
specific length of time in reporting the injury here (just over
30 days) which results in our findings, but the nature of all
the circumstances which dictate the result. We conclude that
it was practicable for Bauer to report his injury within a rea-
sonable period of time following his September 15 injury and
that he failed to do so. Consequently, the trial court correctly
determined that Bauer failed to give notice to Genesis “as soon
as practicable.”
   [5] The dissent argues that “the majority appears to estab-
lish a new ‘fixed time’ for reporting a workplace injury
based on the special knowledge of a particular plaintiff in a
case, shortening the ‘as soon as practicable’ requirement from
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              BAUER v. GENESIS HEALTHCARE GROUP
                       Cite as 27 Neb. App. 904
4 months to a number of days.” However, as this court previ-
ously held in construing the meaning of the phrase “as soon
as practicable”:
         The Nebraska Supreme Court considered an analogous
      question in Cobbey v. Buchanan, 48 Neb. 391, 67 N.W.
      176 (1896), where the court determined that the meaning
      of the term “necessaries” cannot be fixed by a general rule
      applicable to all cases and that the question of the term’s
      meaning is a mixed one of law and fact to be determined
      in each case from the particular facts and circumstances
      of the case. Here, the trial court reached its determination
      after weighing credibility and determining which version
      of the facts to accept. Just as the meaning of “necessar-
      ies” depends upon the particular facts and circumstances,
      so does the meaning of “as soon as practicable.”
Williamson v. Werner Enters., 12 Neb. App. 642, 652, 682
N.W.2d 723, 731 (2004).
   Accordingly, the question is not about how many days,
weeks, or months elapse from the time of the injury until the
reporting date, but whether the claimant reported the injury
“as soon as practicable” under the specific facts and circum-
stances of this case. In that regard, the dissent makes mention
of Bauer’s failure to report his injury so as not to “rock the
boat” in relation to his tenuous employment and his lack of
medical diagnosis as being factors which support a finding
that it was not “practicable” for Bauer to report his injury to
his employer until October 23, 2017. We discuss these fac-
tors independently.
   First, although we are sympathetic to Bauer’s apparent ten­
uous employment situation at the time that he was injured,
we do not construe Bauer’s perception of the instability of his
employment as impacting the “practicability” of reporting the
incident. As we stated in Williamson:
         “Practicable” generally means capable of being
      done, effected, or put into practice with the available
      means, i.e., feasible. Webster’s Encyclopedic Unabridged
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             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
      Dictionary of the English Language 1127 (1989). It has
      also been described as meaning possible or feasible, able
      to be done, or capable of being put into practice. Id.
12 Neb. App. at 652, 682 N.W.2d at 731.
   Second, the dissent suggests “I think the ‘practicability’
language in § 48-133 is workable in all situations by consider-
ing the reasonableness of the employee’s actions in seeking
treatment, in conjunction with some medical pronouncement of
the seriousness of the injury which includes a course of treat-
ment.” Although we recognize that there has to be a degree
of injury which places the employee on notice that he or she
is injured, we disagree that the word “practicable” necessarily
incorporates notions of treatment or medical pronouncement.
Instead the question is whether, under the facts and circum-
stances of each case, the claimant reported the injury “as soon
as practicable.”
   We see this case as similar to Williamson, supra, where we
ultimately held that the worker’s experiencing of an unusual
event where he promptly perceived substantial pain that he
connected with the event for which he sought chiropractic
treatment in which he related pain to the event was sufficient
to place him on notice of his injury and triggered his reporting
requirement “as soon as practicable” thereafter.
   Likewise, here, Bauer injured himself on September 15,
2017; knew he injured himself; promptly perceived pain which
he connected with the event; and engaged in self-treatment
activities to rehabilitate himself. Although he did not seek
medical assistance right away, he testified that even after he
aggravated the injury, he was reluctant to seek medical treat-
ment because he was being “hardheaded.” Importantly, Bauer
specifically testified that he did not then report the incident,
not because he did not deem himself injured, but because he
did not want to “rock the boat.” Stated differently, under these
facts, Bauer admittedly failed to report the work-related injury
to his employer (and even delayed reporting the work-related
event to his doctors for a period of time once he sought
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treatment) not because it was not feasible, but because of his
conscious decision not to. Under these specific facts, we find
Bauer failed to report his injury “as soon as practicable.”

                          CONCLUSION
   Having determined as a matter of law that the trial court
correctly found that Bauer failed to give his employer, Genesis,
notice “as soon as practicable” as required by § 48-133, we
affirm the trial court’s dismissal of Bauer’s petition.
                                                     Affirmed.

   Pirtle, Judge, dissenting.
   There is an old saying in the law: “Difficult cases make bad
law.” This case is a prime example of that. For the reasons that
follow, I respectfully dissent from the majority’s determination
that the trial court correctly denied benefits to Bauer for fail-
ing to notify his employer of his workplace injury “as soon as
practicable” as required by Neb. Rev. Stat. § 48-133 (Reissue
2016). Furthermore, the majority appears to establish a new
“fixed time” for reporting a workplace injury based on the
special knowledge of a particular plaintiff in a case, shortening
the “as soon as practicable” requirement from 4 months to a
number of days. See, § 48-133; Williamson v. Werner Enters.,
12 Neb. App. 642, 682 N.W.2d 723 (2004).
   The majority’s finding is especially harsh when all the facts
and circumstances surrounding Bauer’s failure to report the
incident immediately and his reluctance to “rock the boat”
are fully understood. Bauer had reason to believe that ever
since the spring of 2017, his employment was in jeopardy and
his decision to try to rehabilitate himself was a hedge against
retaliation and possible termination. Bauer testified his man-
ager was under investigation by corporate human resources
officials for some sort of misconduct. Bauer was asked to
submit to an interview as part of the investigation. Initially,
Bauer refused, telling the corporate officials that he was afraid
anything he said would “[get] back to” his manager, which
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              BAUER v. GENESIS HEALTHCARE GROUP
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he feared would result in some sort of workplace retaliation.
The corporate officials reassured Bauer they would keep
his confidences, but “within three weeks [his manager’s]
demeanor [toward him] changed dramatically.” In July, she
gave him an unfavorable performance report, and then, she
“wrote [him] up,” alleging Bauer had failed to provide cover-
age for his post. Bauer testified he did not want to report the
workplace injury initially because he was afraid the natural
consequence of the report under these conditions would be
loss of employment.
   On September 25, 2017, which was 10 days after his injury,
Bauer was summoned to meet with the manager he had been
interviewed about in the spring. During this meeting, Bauer
was placed on administrative leave. Bauer was under the
impression it was a money-saving move, since the manager
said she would perform Bauer’s duties as well as her own. But
2 weeks after being placed on leave, Bauer became aware the
company had hired a new person to do the job Bauer had been
doing. If this was a wrongful discharge case of some type,
Bauer would be entitled to an inference that if he had reported
the incident on the day it happened, and if the administrative
leave and the hiring of a new person followed closely there­
after, reporting the accident was causally connected to his loss
of employment.
   By the time Bauer sought treatment for his injury, he had
already been placed on administrative leave but had not yet
learned his job had been given to someone new. In fact, he was
still waiting for a call to return to work, since the manager said
“the phone could ring anytime,” and he had not been fired.
Bauer testified he feared attributing the injury to the workplace
would “rock the boat” and impair his chances of being brought
back to work.
   Bauer learned he had been replaced about 2 weeks after
September 25, 2017. His first appointment with the ortho-
pedic surgeon was on October 20, and on October 23, Bauer
reported the injury to Genesis. Until that point, Bauer thought
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             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
he could rehabilitate himself using weights, pulleys, and aqua
therapy. I appreciate Bauer’s reluctance to report the injury
on the day it happened and his unwillingness to attribute the
injury to the workplace when seeking treatment. I interpret
his silence as self-preservation through October 23, rather
than some devious, intentional withholding of information
designed to prejudice the employer as the majority suggests.
By then, even though he still did not know the seriousness of
the injury, he had nothing to lose by reporting the injury, since
he had been replaced and had started talking to other poten-
tial employers.
   I am also troubled by the majority’s narrowing of the
timeframe for reporting workplace injuries for workers with
specialized knowledge, since it may just be a matter of the
“right case” which narrows the reporting period for a worker
without such awareness. Since Bauer is an experienced physi-
cal therapy assistant, the new rule for reporting for a plaintiff
like Bauer is “immediately.” This standard is unfair given the
“beneficent purpose” and the “consistently . . . liberal con-
struction” of the Nebraska Workers’ Compensation Act and
the uniqueness of every plaintiff and every injury. See Jackson
v. Morris Communications Corp., 265 Neb. 423, 431, 657
N.W.2d 634, 640 (2003).
   I note with interest that Williamson v. Werner Enters., 12
Neb. App. 642, 682 N.W.2d 723 (2004), was also a split deci-
sion. The dissent analyzes § 48-133 in its past and present
form as evidence of a legislative intent that courts be flexible
in their application of “practicability” to different injuries
and different bodies. Prior to its present language, § 48-133
included a provision that required not only a reporting “as
soon as practicable” but also that “the claim for compensa-
tion with respect to such injury shall have been made within
six months after the occurrence.” § 48-133 (1943). In 1977,
this 6-month provision was removed, leaving the statement
first included in 1917 that “all disputed claims for compen-
sation or benefits shall be first submitted” to the workers’
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             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
compensation court. See § 48-133 (Reissue 1978). In addition
to deleting the requirement that employees file a claim within
6 months, the Legislature changed § 48-133 by adopting
1977 Neb. Laws, L.B. 144, and extending the time in which
employees have to file a petition from 1 year to 2 years. These
changes give us an insight into the ongoing liberal interpre-
tation of all aspects of the workers’ compensation law. See
Williamson, supra. And in floor debate in support of L.B.
144, the sponsor, Senator Bill Brennan, said: “A person can’t
report an accident until he has knowledge of the seriousness
of the accident.” Floor Debate, L.B. 144, 85th Leg., 1st Sess.
537 (Feb. 15, 1977).
   In my judgment, even with his special knowledge and expe-
rience, Bauer did not appreciate the significance of his injury
until November 20, 2017. At that point, Bauer learned he had
suffered a “[b]iceps tendon subluxation with rotator cuff tendi-
nopathy,” which could be managed conservatively or resolved
surgically. But by then, Genesis had already been on notice of
the injury for a month, a mere 38 days from the date of the
accident. Bauer had given sufficient notice to Genesis for it to
do its own investigation and to get up to speed with any treat-
ment recommendations.
   My interpretation of the legislative message at the time
Williamson was decided was as follows:
      6 months from the date of injury to the date of the report
      could be too short a timeframe in some situations, so
      that portion of the statute should come out, but a claim-
      ant must be sure to file a petition with the compensation
      court within 2 years of the incident, even if the serious-
      ness of the injury is still unknown.
   I construe § 43-133 the same way today. The Legislature
has had plenty of opportunity to further restrict the report-
ing requirements in the years since the Williamson decision
when the court concluded that 4-plus months before reporting
“exceeds the outer limit of any reasonable delay,” but to date
it has not done so. 12 Neb. App. at 653, 682 N.W.2d at 732.
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             BAUER v. GENESIS HEALTHCARE GROUP
                      Cite as 27 Neb. App. 904
I too would have dissented in Williamson, since I believe fix-
ing an “outside edge” for reporting an injury is contrary to a
determination of what is “practicable.” And now, the narrowing
of the reporting period so drastically yet again sets a danger-
ous precedent and upsets the Legislature’s intent that § 48-133,
and the Nebraska Workers’ Compensation Act in its entirety, be
construed liberally and in the worker’s favor.
   I think the “practicability” language in § 48-133 is work-
able in all situations by considering the reasonableness of the
employee’s actions in seeking treatment, in conjunction with
some medical pronouncement of the seriousness of the injury
which includes a course of treatment. The flexibility of the
statute when applied to facts in any case, with any kind of
plaintiff and any kind of injury, satisfies the purpose of the
workers’ compensation statutes—to relieve injured workers
from the adverse economic effects caused by a work-related
injury or occupational disease.
   Therefore, I would reverse the decision by the trial court and
remand the cause with directions to the trial court to determine
the benefits Bauer is entitled to under the law. I believe the
trial court was clearly wrong in denying Bauer benefits, and I
fear the ramifications of the majority’s position will have far-
reaching and dire consequences for workers which is contrary
to the intent of the Nebraska Workers’ Compensation Act. And,
I would encourage the Nebraska Supreme Court and/or the
Nebraska Legislature to further review and rectify the injus-
tice done by shortening so severely the time for reporting a
workplace injury, especially given that two divided Court of
Appeals’ panels have now created continued uncertainty for
current and future litigants and practitioners.
